23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 1 of
                                         7




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: February 01, 2024.

                                                                     __________________________________
                                                                             SHAD M. ROBINSON
                                                                     UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                          §
                                                      §       Case No. 23-10164-smr
      ASTRALABS, INC.,                                §
                                                      §       Chapter 7
                Debtor.                               §

                      ORDER OVERRULING OBJECTIONS TO TRUSTEE’S
                     SALE OF DESIGNATED SECURITIES WARRANTS, FREE
                   AND CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES

               On December 19, 2023, the Court entered its order [Docket No. 359] (the “Sale Procedures

  Order”) approving the Motion (I) for Authority to Sell Designated Securities Warrants, Free and

  Clear of All Liens, Claims, and Encumbrances; (II) for Approval of Notice, Sale, and Executory

  Contract Procedures; and (III) to Set Final Hearing to Approve Sale and Good Faith Designation

  to Prevailing Purchaser(s) [Docket No. 351] (the “Sale Motion”), 1 filed by Randolph N. Osherow,

  not individually but in his capacity as the duly appointed chapter 7 trustee (in such capacity,




  1
        Capitalized terms used and not otherwise defined herein have the same meanings as set forth in the Sale
        Procedures Order, and if none, then as set forth in the Sale Motion.


                                                          1
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 2 of
                                         7



  the “Trustee”), for and on behalf of ASTRALABS, Inc., d/b/a “Newchip” (the “Debtor”), and its

  bankruptcy estate.

          Pursuant to the Sale Procedures Order, “any objections to the Sale that are not based solely

  on the identity of the Purchaser, including but not limited to objections based on any purported

  ‘right of first refusal’ held by the issuer, must also be filed and served upon the Trustee by no later

  than 5:00 p.m. (Central Time) on January 16, 2024 (the ‘Sale Objection Deadline’).” See Sale

  Procedures Order at p. 4.

          Pursuant to the Sale Procedures Order, the Court held a hearing on January 26, 2024

  (the “Hearing”), to consider the following objections that are the sole objections that have been

  filed on the Official Docket of this case as of the Sale Objection Deadline or as of the date of entry

  of this Order (collectively, the “Objections”):

          (a)      Objection and Reservation of Rights of CollectiveCrunch Oy to the
                   Chapter 7 Trustee’s Notice of Entry of Order (I) Approving Notice, Sale,
                   and Executory Contract Procedures for Sale of Designated Securities
                   Warrants, Free and Clear of All Liens, Claims, and Encumbrances; and
                   (II) Scheduling Final Sale Hearing [Docket No. 370]; and

          (b)      Notice of Trustee’s Receipt of Objections to Notice of Entry of Order
                   (I) Approving Notice, Sale, and Executory Contract Procedures for Sale of
                   Designated Securities Warrants, Free and Clear of All Liens, Claims, and
                   Encumbrances; and (II) Scheduling Final Sale Hearing [Docket No. 372].

          After reviewing and considering the Objections, the evidence, testimony, and argument of

  counsel presented at the Hearing, and the entire record before it; and for the reasons stated on the

  record by the Court at the Hearing; THE COURT FINDS, CONCLUDES, AND ORDERS AS

  FOLLOWS 2:




  2
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
      of fact when appropriate. See Fed. R. Bankr. P. 7052.


                                                           2
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 3 of
                                         7



         1.      The Objection of CollectiveCrunch Oy has been resolved as between

  CollectiveCrunch Oy and the Trustee, pursuant to an accommodation announced to, and

  tentatively approved by, the Court under which CollectiveCrunch Oy has agreed to pay the Trustee

  the sum of $5,000 in exchange for the Trustee’s agreement to deem CollectiveCrunch Oy’s prior

  warrant issued to the Debtor to be entirely expired and terminated, for all purposes, or surrender

  the warrant to CollectiveCrunch Oy (at its option), along with the parties’ exchange of full releases.

  Pursuant to the foregoing, the Court Orders the Trustee to remove CollectiveCrunch Oy’s prior

  warrant issued to the Debtor (No. 75) from the list of Sale Assets under the Sale Motion, for all

  purposes, and file notice of same. The Trustee shall further file a separate motion, with appropriate

  notice, for final approval of the foregoing agreement, together with and any other resolutions

  agreed to between the Trustee and other relevant Warrant counterparties, including, but not limited

  to, The Wholesome Bowl Pty Ltd and WeConcile, Inc.

         2.      The Objection of b-science.net to the Sale of its Warrant without being granted a

  right of first refusal is OVERRULED. Any potential Purchaser of a Warrant assumes such Warrant

  subject to any and all provisions set forth therein, including without limitation, any provision

  providing for a “right of first refusal” held by the issuer and any and all related rights and

  obligations, but solely to the extent valid and enforceable under applicable law.

         3.      The Objection of FLYX Entertainment Inc. that its Warrant has expired after

  twenty-four (24) months from the date of signing is OVERRULED. FLYX Entertainment Inc. has

  not shown that its Warrant is expired, including by providing sufficient documentation to

  demonstrate that it has satisfied all requisite reporting obligations under the Warrant, but any

  purchaser of the Warrant would acquire it subject to its enforceable term, if any.




                                                    3
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 4 of
                                         7



         4.      The Objection of Ok Away Pty Ltd that its Warrant is null and void because the

  Debtor breached its agreement with Ok Away Pty Ltd is OVERRULED. The Warrant is severable

  from the related customer agreement and may be separately assumed and assigned by the Trustee.

         5.      The accommodation and compromise between and among the Trustee and the

  clients represented by Ross, Smith & Binford, PC (collectively, the “RSB Clients”), which

  agreement is set forth on Exhibit “A” attached to this Order and incorporated herein by reference

  for all purposes, pursuant to which the RSB Clients agreed to waive any and all objections required

  to be asserted by the Sale Objection Deadline, except as set forth on Exhibit “A”, is APPROVED.

  The Trustee shall incorporate the language set forth on Exhibit “A” into the Final Sale Order

  submitted to and tentatively approved by the Court for notice in connection with the Sale Motion

  for final entry following the Final Sale Hearing.

         6.      This Court retains jurisdiction to, among other things, interpret, enforce, and

  implement the terms and provisions of this Order.

                                                 ###




                                                      4
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 5 of
                                         7



  Order submitted by:

   By: /s/ Jay H. Ong

   Jay H. Ong
   Texas Bar No. 24028756
   Thanhan Nguyen
   Texas Bar No. 24118479
   MUNSCH HARDT KOPF & HARR, P.C.
   1717 West 6th Street, Suite 250
   Austin, Texas 78703
   Telephone: (512) 391-6100
   Facsimile: (512) 391-6149

   Counsel for Randolph N. Osherow,
   Chapter 7 Trustee




                                         5
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 6 of
                                         7



                                              Exhibit ”A”

     •   Final Sale Order (new ordered Paragraph 13):

         13.     Other than with respect to cure obligations contemplated by section 365 of the

  Bankruptcy Code as provided immediately above, the Purchaser takes the Assigned Contracts

  issued by any of the entities listed on Exhibit “1” hereto and incorporated herein by reference for

  all purposes (each, and collectively, the “RSB Client(s)”) subject to the validity, effectiveness, and

  legal enforceability of any Designated Securities Warrant and the RSB Client parties to the

  Assigned Contracts hereby reserve all rights with respect to such validity, effectiveness, and legal

  enforceability. Moreover, an RSB Client party’s participation in the sale process by providing

  information requested by the Trustee, the Debtor, the Purchaser, or their respective representatives,

  shall not be considered a waiver of such party’s rights with respect to the validity, effectiveness,

  and legal enforceability of a Designated Securities Warrant.

     •   Exhibit “1” to Final Sale Order:

                 Company                                         Principal’s Name
                 Alezan SA                                       Pierre Colle
                 Allwell Greens Inc.                             Judy Cari
                 AquaLith Advanced Materials Inc.                Gregory Cooper
                 Artscapy, Ltd.                                  Alessandro de Stasio
                 ASecureCloud Inc.                               Abdul Kittana
                 CO2 Pulse                                       Mirko Mlatac
                 Cyber Trust Alliance, Inc.                      Randy Steinle
                 Delmic                                          Sander den Hoedt
                 Dream Harvest Ltd                               Justin French
                 Eze Technologies, Inc.                          David Iya
                 Fabalish Inc.                                   Paul Majcherczy
                 Fashion Constellate                             Melinda Villarreal
                 Filmplace HQ Pte Ltd                            Lincoln Lin
                 GeoNadir Pty Ltd                                Paul Mead
                 Hypha Knowledge Integration Limited             Arpit Kauashik
                 Innovative Wellness Systems Inc.                Ted Finn
                 InterGen Data, Inc.                             Robert Kirk
                 Lambda Supply Chain Solutions Pvt. Ltd.         Gaurav Mogra
23-10164-smr Doc#382 Filed 02/01/24 Entered 02/01/24 11:29:16 Main Document Pg 7 of
                                         7



              Company                             Principal’s Name
              Lonch, Inc.                         Christopher Gulliver
              Makara Insights                     Juan Carballo
              MyIDFi, LLC (now Inc.)              Jeffrey Lee Nelson
              Paddio Inc.                         Aldo de Jong
              Prismatext, Inc.                    Zak Erving
              Retora Games LLC                    Tyler Coleman
              Retentacle Inc.                     Marlies Bloxham
              Serene Health Ltd.                  Savannah Price
              Sleep Easy Technology, Inc.         Anthony Esplin
              Swarm Holdings Inc                  David Connors
              The Wholesome Bowl Pty Ltd          Mez Jamali
              ThoughtData, Inc.                   Manjunath Venkatran
              TravelMeetEat, Inc.                 Kevin Blake Thomas
              Virtuosica Inc.                     Warren Peterson
              WeConcile, Inc.                     Jennifer Lehr
              Wingsure Inc.                       Avi Basu
              Yowo Solutions, Inc.                David Shepherd
